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 1    SO. CAL. EQUAL ACCESS GROUP
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 6    Attorneys for Plaintiff
      LEEMANUEL WEILCH
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      LEEMANUEL WEILCH,                                 Case No.: 2:21-cv-02046-DSF (PVCx)
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITH PREJUDICE
14
      CP VENTURE TWO LLC; and DOES 1 to
15    10,
16
                   Defendants.
17
18
19          PLEASE TAKE NOTICE that LEEMANUEL WEILCH
20    (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
21    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
22    Procedure Rule 41(a)(1) which provides in relevant part:
23          (a) Voluntary Dismissal.
24                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                          and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
                          (i)     A notice of dismissal before the opposing party serves either an
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                                  answer or a motion for summary judgment.

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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:21-cv-02046-DSF-PVC Document 14 Filed 07/06/21 Page 2 of 2 Page ID #:42




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: July 06, 2021           SO. CAL. EQUAL ACCESS GROUP
 6
 7                                   By:      /s/ Jason J. Kim
 8                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
